
50 So.3d 793 (2011)
Nelson LLOMPART, Appellant,
v.
Pablo CAMEJO, Appellee.
No. 3D09-3475.
District Court of Appeal of Florida, Third District.
January 5, 2011.
Juan Gabriel Miguel, for appellant.
Pablo Camejo, in proper person.
Before SUAREZ, ROTHENBERG, and SALTER, JJ.
*794 SUAREZ, J.
Affirmed. See Dudley v. Schmidt, 963 So.2d 297 (Fla. 5th DCA 2007) (citing no statutory authority to award fees as sanctions in a domestic violence injunction proceeding); Bierlin v. Lucibella, 955 So.2d 1206 (Fla. 4th DCA 2007) (holding that there must be a finding that the case failed to present a justiciable issue of fact or law).
